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                                  GARTH FISHER, M.D. and GARTH
                              7   FISHER SKIN CARE, LLC
                              8
                                                      UNITED STATES DISTRICT COURT
                              9
                                                        CENTRAL DISTRICT OF CALIFORNIA
                           10                                                        2:21-cv-5795
                                  GARTH FISHER, M.D., an individual, ) Case No.: __________
                           11     and GARTH FISHER SKIN CARE,         )
                                  LLC, a California limited liability )
                           12     company,                            ) COMPLAINT FOR:
                                                                      )
                           13                  Plaintiffs,            ) (1) FEDERAL TRADEMARK
                                                                      ) INFRINGEMENT
                           14           v.                            ) [15 U.S.C. § 1114]
                                                                      )
                           15     REXFORD SURGICAL INSTITUTE ) (2) FALSE DESIGNATION OF
                                  INC., a California corporation;     ) ORIGIN AND UNFAIR
                           16     SHAPOUR DANIEL GOLSHANI,            ) COMPETITION
                                  M.D., an individual; MALCOLM        ) [15 U.S.C. § 1125(a)]
                           17     LESAVOY, M.D., an individual; and   )
                                  DOES 1 through 10,                  ) (3) FALSE ADVERTISING
                           18                                         ) [15 U.S.C. § 1125(a)]
                                               Defendants.            )
                           19                                         ) (4) FALSE ENDORSEMENT
                                                                      ) [15 U.S.C.§ 1125(a)]
                           20                                         )
                                                                      ) (5) VIOLATION OF
                           21                                         ) STATUTORY RIGHT OF
                                                                      ) PUBLICITY
                           22                                         ) [CAL. CIV. CODE § 3344.1]
                                                                      )
                           23                                         )
                                                                      ) DEMAND FOR JURY TRIAL
                           24                                         )
                                                                      )
                           25                                         )
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                              1                                          COMPLAINT
                              2            Plaintiffs Garth Fisher, M.D. (“Dr. Fisher”) and Garth Fisher Skin Care, LLC
                              3   (“GFSC” and, collectively with Dr. Fisher, “Plaintiffs”), for their complaint against
                              4   defendants Rexford Surgical Institute Inc. (“RSI”), Shapour Daniel Golshani, M.D.
                              5   (“Dr. Golshani”), Malcolm Lesavoy, M.D. (“Dr. Lesavoy”) and DOES 1-10
                              6   (collectively with RSI, Dr. Golshani, and Dr. Lesavoy, “Defendants”) hereby allege
                              7   as follows:
                              8                                 JURISDICTION AND VENUE
                              9            1.      This Court has jurisdiction over Plaintiffs’ claims pursuant to
                           10     15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338 because this is an action arising
                           11     under federal law relating to trademarks – specifically, the Trademark Act of 1946,
                           12     as amended, 15 U.S.C. §§ 1051, et seq. (the Lanham Act). The pendent state law
                           13     claims are so related to the federal claims that they form part of the same case or
                           14     controversy pursuant to Article III of the United States Constitution; thus, the Court
                           15     has supplemental jurisdiction over those claims pursuant to 28 U.S.C. § 1367(a).
                           16              2.      Venue is proper in this District pursuant to 28 U.S.C. 1391(b)(1)
                           17     and (2) because, upon information and belief, each of the Defendants resides in this
                           18     District and all of the Defendants are residents of California, and because a
                           19     substantial part of the events giving rise to the claims asserted herein occurred in
                           20     this District.
                           21                                    NATURE OF THE ACTION
                           22              3.      This is a civil action seeking damages and injunctive relief for willful
                           23     trademark infringement, false designation of origin, false endorsement, unfair
                           24     competition, and false advertising under the laws of the United States,
                           25     15 U.S.C. §§ 1051, et seq. (the “Lanham Act”), and violation of the statutory right
                           26     of publicity, Cal. Civ. Code § 3344.1.
                           27              4.      Dr. Fisher is widely regarded as one of the top plastic surgeons in the
                           28     world, having performed aesthetic/cosmetic medical procedures on patients that

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                              1   rank among the highest echelons of Hollywood’s A-list talents and leaders in the
                              2   business world. His achievements in, and contributions to, the field of plastic
                              3   surgery, for which he was knighted in 2014, have been highlighted in countless
                              4   media outlets and television appearances, including ABC’s Extreme Makeover. As
                              5   a result, Dr. Fisher has become a renowned leader in his field and his services are
                              6   highly sought out by prospective clientele from around the world.
                              7            5.    Unfortunately, Defendants – who also offer plastic surgery services in
                              8   the Beverly Hills area – have elected to advertise their services by infringing on and
                              9   misappropriating Dr. Fisher’s federally registered trademarks, falsely implying a
                           10     connection between Dr. Fisher and their own medical practice in an attempt to trade
                           11     off of the valuable goodwill Dr. Fisher has developed in his name, his practice, and
                           12     his trademarks.
                           13              6.    Dr. Fisher, along with GFSC, the owner of the trademarks at issue here,
                           14     brings this action to enjoin Defendants’ unauthorized use of Plaintiffs’ marks in
                           15     advertisements for their services and for damages, in an amount to be determined at
                           16     trial but in no event less than $1 million, due to the confusion that Defendants’ acts
                           17     have likely caused amongst consumers and the harm that has been caused to
                           18     Plaintiffs, the value of their intellectual property rights, and Dr. Fisher’s esteemed
                           19     reputation.
                           20                                         THE PARTIES
                           21              7.    Plaintiff Garth Fisher, M.D. (“Dr. Fisher”) is an individual who resides
                           22     in Los Angeles County, California. Dr. Fisher maintains a medical practice with
                           23     offices located at 120 S. Spalding Dr., #222, Beverly Hills, California 90212.
                           24              8.    Plaintiff Garth Fisher Skin Care, LLC (“GFSC”) is a California limited
                           25     liability company. GFSC is the registrant and owner of the trademarks at issue in
                           26     this suit, as discussed herein.
                           27              9.    Upon information and belief, defendant Rexford Surgical Institute Inc.
                           28     (“RSI”) is a California corporation with offices located at 9301 Wilshire Blvd., Suite

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                              1   401, Beverly Hills, California 90210. Upon information and belief, RSI owns and
                              2   operates the website http://beverlyhillssurgicalassociates.com/.
                              3            10.   Upon information and belief, defendant Shapour Daniel Golshani,
                              4   M.D. (“Dr. Golshani”) is an individual who resides in Los Angeles County,
                              5   California. Plaintiffs are informed and believe that Dr. Golshani is a plastic surgeon
                              6   and the incorporator of RSI, and that at all relevant times he has directed and
                              7   controlled the activities of RSI, including the acts complained of herein.
                              8            11.   Upon information and belief, defendant Malcolm Lesavoy, M.D. (“Dr.
                              9   Lesavoy”) is an individual who resides in Los Angeles County, California.
                           10     Plaintiffs are informed and believe that Dr. Lesavoy is a plastic surgeon and that at
                           11     all relevant times he has directed and controlled the activities of RSI, including the
                           12     acts complained of herein.
                           13              12.   Upon information and belief, DOES 1-10 are individuals and business
                           14     entities who have participated or assisted in the conduct alleged herein or are
                           15     otherwise responsible therefor. The identities of these DOE defendants presently
                           16     are not and cannot be known to Plaintiffs, but these persons and/or entities will be
                           17     added as named defendants to this action as and when they are identified.
                           18              13.   Upon information and belief, at all times herein mentioned, each DOE
                           19     defendant was the agent, servant, subsidiary, partner, member, associate, co-
                           20     conspirator, representative, aider and abettor or employee of Defendants and each
                           21     other DOE defendant, and in connection with the conduct herein alleged, was acting
                           22     within the course and scope of such relationship, and that Defendants and each DOE
                           23     defendant ratified each and every act, omission, and thing done by each and every
                           24     other defendant.
                           25                                  GENERAL ALLEGATIONS
                           26     I.       DR. FISHER’S RENOWNED PRACTICE AND TRADEMARKS
                           27              14.   By delicately balancing his surgical acumen, medical judgment, and
                           28     artistic sensibility over decades of determined work to become a leader in his field,

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                              1   Dr. Fisher has reached the pinnacle of success as a plastic surgeon. Widely regarded
                              2   as an impeccably-skilled surgeon with a caring bedside manner and keen eye for
                              3   beauty, Dr. Fisher has performed procedures for A-list celebrities, prominent super
                              4   models and fashion icons, royalty, Fortune 500 business executives, and others at
                              5   his Beverly Hills-based office, helping his patients find happiness in achieving their
                              6   plastic surgery goals. His services are highly in demand and his clientele travels
                              7   from around the world to receive treatments from Dr. Fisher.
                              8            15.   Dr. Fisher’s expertise has also been recognized by medical publications
                              9   that compile lists of doctors at the top of their fields. Best Doctors, a highly
                           10     respected medical referral service based on peer-reviewed evaluations of medical
                           11     professionals, selected Dr. Fisher as one of the top plastic surgeons in the country
                           12     for facial cosmetic and breast surgeries. Dr. Fisher was also recognized as a “best-
                           13     in-class” plastic surgeon by Castle Connolly Top Doctors, a listing service that
                           14     honors less than 1% of the country’s physicians and is based on an un-biased
                           15     research and selection process.
                           16              16.   Sometimes referred to as the “Plastic Surgeon to the Stars,” Dr.
                           17     Fisher’s practice is inextricably intertwined with the entertainment industry. Since
                           18     being the first plastic surgeon featured on ABC’s hit television series Extreme
                           19     Makeover, Dr. Fisher has taken an innovative approach to utilizing the media to
                           20     provide information regarding plastic surgery to the general public, leading to
                           21     greater transparency and public knowledge of the field which has generally
                           22     improved the quality of care for plastic surgery patients. In addition to his featured
                           23     role on Extreme Makeover, Dr. Fisher has appeared in many other television and
                           24     print outlets to share his expertise, including Oprah, Larry King Live, Access
                           25     Hollywood, Keeping Up With the Kardashians, Good Morning America, Elle,
                           26     Allure, GQ, and Los Angeles Magazine, among many others.
                           27              17.   Dr. Fisher has long marketed his services and his practice online
                           28     through his website located at https://www.garthfisher.com. Prominently located at

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                              1   the top of the main page and each sub-page of his website is his name, GARTH
                              2   FISHER, MD. Dr. Fisher’s website and his online marketing efforts play a critical
                              3   role in providing information regarding Dr. Fisher’s practice to prospective patients
                              4   who are searching for a plastic surgeon capable of performing procedures at Dr.
                              5   Fisher’s level of expertise and care.
                              6            18.   Dr. Fisher has also created, marketed, and distributed goods bearing the
                              7   mark GARTH FISHER, MD, including lines of skin care products and
                              8   informational videos, “The Naked Truth About Plastic Surgery” and “The Naked
                              9   Truth About Anesthesia,” developed to educate consumers about the procedures,
                           10     risks, and rewards of plastic surgery.
                           11              19.   As identifiers of the sterling reputation and goodwill Dr. Fisher has
                           12     developed for himself, his practice, and his products, Dr. Fisher, through GFSC, an
                           13     entity he owns and controls, owns and uses numerous federal registrations of
                           14     trademarks and service marks consisting of the words GARTH FISHER, M.D.,
                           15     including, but not limited to, U.S. Reg. Nos. 3,475,905; 3,848,971; 3,851,664; and
                           16     3,878,947 to identify the services and goods Dr. Fisher provides to the public.
                           17     Pertinent information regarding the Fisher Marks is shown in the table below:
                           18
                           19                             Mark                 Reg. No.          Reg. Date
                           20                    GARTH FISHER, M.D.            3,475,905          7/29/08
                           21                    GARTH FISHER, M.D.            3,848,971          9/14/10
                           22                    GARTH FISHER, M.D.            3,851,664          9/21/10
                           23                    GARTH FISHER, M.D.            3,878,947         11/23/10
                           24              20.   Each of the above-referenced trademark registrations is valid and
                           25     subsisting, and, together with Dr. Fisher’s common law rights in the mark GARTH
                           26     FISHER, M.D. (collectively, the “Fisher Marks”), make the Fisher Marks valuable
                           27     assets owned by Plaintiffs.
                           28

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                              1            21.   Plaintiffs are the exclusive owners of the Fisher Marks and all of the
                              2   related business and goodwill throughout the United States. Attached hereto as
                              3   Exhibit A are true and correct copies of the trademark registration certificates for
                              4   the Fisher Marks as issued by the United States Patent and Trademark Office.
                              5            22.   Plaintiffs have expended substantial sums of money and significant
                              6   effort to advertise and promote Dr. Fisher’s services and goods bearing the Fisher
                              7   Marks which has allowed Dr. Fisher to attract patients and perform over 25,000
                              8   cosmetic procedures. As a result, each of the Fisher Marks has acquired strong
                              9   secondary meaning signifying Dr. Fisher.
                           10              23.   Due to Dr. Fisher’s extensive marketing efforts, the success of his
                           11     practice, and the professional reputation he has developed as a leader in his field, the
                           12     Fisher Marks have each become extremely valuable corporate assets.
                           13     II.      DEFENDANTS’ WRONGFUL ACTS
                           14              24.   Plaintiffs are informed and believe that RSI is the owner and operator
                           15     of the websites located at http://beverlyhillssurgicalassociates.com/ and
                           16     https://bhsa.pro. Both websites serve the function of marketing a medical practice
                           17     group using the name Beverly Hills Surgical Associates (“BHSA”). The websites
                           18     provide potential consumers information on the medical procedures offered by
                           19     BHSA, including plastic surgery, pricing information for the procedures, and
                           20     contact information to schedule an appointment in advance of a consumer
                           21     undergoing a procedure, among other information.
                           22              25.   According to the BHSA website located at https://bhsa.pro, Dr.
                           23     Golshani and Dr. Lesavoy are physicians affiliated with BHSA, with photographs
                           24     and biographies of each of these doctors being featured in the “About Us” section of
                           25     the website. Those biographies indicate that both Dr. Golshani and Dr. Lesavoy are
                           26     plastic surgeons practicing in or around Beverly Hills, California and thus are direct
                           27     competitors with Dr. Fisher.
                           28

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                              1            26.       It has recently come to Dr. Fisher’s attention that search results for
                              2   “Garth Fisher MD” on the Internet search engine Google, located at
                              3   https://www.google.com, return “Sponsored Links” advertising BHSA and its
                              4   website http://beverlyhillssurgicalassociates.com (the “Infringing Advertisement”),
                              5   providing the Internet user who performed a search for “Garth Fisher MD” the
                              6   ability to click the link included in the Infringing Advertisement and be redirected
                              7   to the BHSA website. Egregiously, the advertising copy for the Infringing
                              8   Advertisement prominently includes the mark GARTH FISHER, M.D., as shown
                              9   below:
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                           11
                           12
                           13
                           14             Google
                                          search
                           15             terms

                           16
                           17
                           18
                           19
                           20
                           21
                                     Infringing
                           22        Advertisement

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                              1            27.   Search engines, such as Google, are powerful tools that allow Internet
                              2   users to search for a word or phrase and be returned a list of hyperlinks to websites
                              3   that the search engine has determined to be relevant to the user’s requested search.
                              4   Search engines typically return two types of search results to the user: “natural” or
                              5   “organic” results that the search engine has determined, according to its own
                              6   algorithm, to be relevant to the user’s search, and “Sponsored Links.” Like other
                              7   search engines, Google, through its AdWords program, allows advertisers to
                              8   purchase keywords that, when searched for by a user of that search engine, will
                              9   cause the advertiser’s advertisement to appear as a Sponsored Link in the search
                           10     results provided to the user.
                           11              28.   Upon information and belief, Defendants have, without authorization,
                           12     purchased the Fisher Marks, comprised of the words GARTH FISHER, M.D., as a
                           13     keyword through Google’s AdWords program, causing the Infringing
                           14     Advertisement to be displayed as a Sponsored Link whenever a Google user
                           15     searches for the words “Garth Fisher MD.”
                           16              29.   Defendants escalated their wrongful conduct one step further, however,
                           17     choosing to use the Fisher Marks in commerce not only in their selection of
                           18     keywords determining when the Infringing Advertisement would be displayed as a
                           19     Sponsored Link, but also by using the Fisher Marks directly in the Infringing
                           20     Advertisement itself, as shown in greater detail below:
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                              1            30.   Upon information and belief, Defendants have been engaging in such
                              2   wrongful conduct since July 2020, if not earlier.
                              3            31.   Plaintiffs are not affiliated, connected, or associated with Defendants
                              4   and have not authorized Defendants, collectively or individually, to use the Fisher
                              5   Marks, whether by way of a license or otherwise.
                              6            32.   Upon information and belief, Defendants adopted and use the Fisher
                              7   Marks in the Infringing Advertisement with full knowledge of, and in willful
                              8   disregard of, Plaintiffs’ intellectual property rights, and with the intent to take
                              9   advantage of the goodwill that Plaintiffs have developed in the Fisher Marks.
                           10              33.   Defendants’ actions in purchasing the Fisher Marks as keywords in
                           11     their Google AdWords advertising campaign and then using the Fisher Marks
                           12     prominently within the text of the Infringing Advertisement itself is likely to cause
                           13     consumer confusion, mistake, or deception as to the source of Defendants’ services
                           14     and/or Dr. Fisher’s affiliation with, sponsorship of, or connection to Defendants and
                           15     their services.
                           16              34.   As an example, a potential plastic surgery consumer may decide to
                           17     research plastic surgery procedures and physicians by using the Google search
                           18     engine. If the consumer is familiar with Dr. Fisher – whether because of his
                           19     reputation as one of the best plastic surgeons in the world, his media appearances, or
                           20     the consumer’s familiarity with Dr. Fisher’s skin care products bearing the Fisher
                           21     Marks – the consumer may decide to conduct a Google search of the words “Garth
                           22     Fisher MD.” If the Google results from such a search display the Infringing
                           23     Advertisement, the consumer may believe that Dr. Fisher’s services are provided
                           24     through BHSA due to his name being attached to a link to one of BHSA’s websites,
                           25     or that Dr. Fisher has endorsed the plastic surgery services being offered by
                           26     Defendants, or that Dr. Fisher offers his services for “[p]ayments as low as
                           27     $277/month,” among other types of confusion or mistake that are likely to be caused
                           28

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                              1   by Defendants’ unauthorized use of the Fisher Marks in the Infringing
                              2   Advertisement.
                              3            35.   Defendants’ wrongful uses of the Fisher Marks in the selection of
                              4   keywords for their marketing via Google AdWords and in the Infringing
                              5   Advertisement itself has caused significant damage to Dr. Fisher’s reputation
                              6   because the conduct confuses the nature and value of Dr. Fisher’s services in the
                              7   minds of consumers who view the Infringing Advertisement after conducting a
                              8   Google search for Dr. Fisher’s name. Dr. Fisher has spent many years developing a
                              9   reputation as an elite surgeon who provides the highest level of skill and care to his
                           10     patients. The content of Defendants’ Infringing Advertisement creates the false,
                           11     misleading, and confusing impression in consumers that Dr. Fisher offers “budget”
                           12     services rather than the premium quality of care he is reputed to provide.
                           13              36.   Upon information and belief, Defendants have willfully and
                           14     deliberately used the Fisher Marks in their Infringing Advertisement, in bad faith, in
                           15     order to trade off of Dr. Fisher’s reputation and the goodwill Plaintiffs have
                           16     developed in the Fisher Marks. By drawing consumers with a legitimate interest in
                           17     Dr. Fisher’s practice in to their own website through the use of the Fisher Marks in
                           18     their Infringing Advertisement, only to then offer their own competing plastic
                           19     surgery services to the consumer, Defendants are creating initial interest confusion
                           20     that is greatly damaging to Plaintiffs. Not only do Defendants’ actions create the
                           21     risk that Dr. Fisher will lose potential patients searching for his services because
                           22     they were misleadingly redirected to Defendants’ website, but the value of the
                           23     Fisher Marks is damaged because the consumer confusion caused by Defendants’
                           24     wrongful acts weakens the Fisher Marks’ ability to serve as source identifiers of Dr.
                           25     Fisher and his services.
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                              1                               FIRST CLAIM FOR RELIEF
                              2   (Federal Trademark Infringement in Violation of 15 U.S.C. § 1114 Against All
                              3                                         Defendants)
                              4            37.   Plaintiffs reallege and incorporate herein by reference the allegations of
                              5   the preceding paragraphs as if fully set forth herein.
                              6            38.   Plaintiffs, through GFSC, own valid and subsisting federal registrations
                              7   for the Fisher Marks.
                              8            39.   Defendants’ unauthorized use in commerce of the Fisher Marks as
                              9   keywords in their Google AdWords advertising and unauthorized use of the Fisher
                           10     Marks in the Infringing Advertisement, such uses being made in connection with the
                           11     sale, offering for sale, distribution, and/or advertising of Defendants’ services, are
                           12     likely to cause confusion, mistake, or deception as to source, affiliation, or
                           13     sponsorship in violation of 15 U.S.C. § 1114.
                           14              40.   Upon information and belief, Defendants adopted and use the Fisher
                           15     Marks with full knowledge of, and in willful disregard of, Plaintiffs’ rights in its
                           16     trademarks, and with the bad faith intent to obtain a commercial advantage that
                           17     Defendants otherwise would not have by trading off of the valuable goodwill and
                           18     strong brand recognition associated with the Fisher Marks, making this an
                           19     exceptional case pursuant to 15 U.S.C. § 1117.
                           20              41.   Plaintiffs have been, and will continue to be, damaged by Defendants’
                           21     infringement in an amount to be determined at trial, but in no event less than $1
                           22     million.
                           23              42.   Defendants’ acts are greatly and irreparably damaging to Plaintiffs and
                           24     will continue to damage Plaintiffs unless enjoined by the Court such that Plaintiffs
                           25     are without an adequate remedy at law.
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                              1                              SECOND CLAIM FOR RELIEF
                              2           (False Designation of Origin and Unfair Competition in Violation of
                              3                        15 U.S.C. § 1125(a) Against All Defendants)
                              4            43.   Plaintiffs reallege and incorporate herein by reference the allegations of
                              5   the preceding paragraphs as if fully set forth herein.
                              6            44.   Defendants’ unauthorized use in commerce of the Fisher Marks as
                              7   keywords in their Google AdWords advertising and their unauthorized use of the
                              8   Fisher Marks in the Infringing Advertisement, such uses being made in connection
                              9   with Defendants’ services being offered through the BHSA websites, are false
                           10     designations of origin and false and misleading representations of fact which are
                           11     likely to cause confusion, mistake, or deception as to Defendants’ affiliation,
                           12     connection, or association with Plaintiffs, or as to the origin of Defendants’ services,
                           13     and falsely represents that Defendants’ services are sponsored by, approved by,
                           14     endorsed by, or connected with Plaintiffs.
                           15              45.   Defendants’ acts constitute false designation of origin and unfair
                           16     competition in violation of 15 U.S.C. § 1125(a).
                           17              46.   Upon information and belief, Defendants’ conduct is willful, deliberate,
                           18     intentional, and done in bad faith, as Defendants have used the Fisher Marks,
                           19     without authorization, in advertising their services so as to deceive consumers as to
                           20     the origin of Defendants’ and/or Dr. Fisher’s services and/or goods, making this an
                           21     exceptional case pursuant to 15 U.S.C. § 1117.
                           22              47.   The consumer deception caused by Defendants’ conduct is material and
                           23     is likely to influence consumers’ purchasing decisions.
                           24              48.   Plaintiffs have been, and will continue to be, damaged by Defendants’
                           25     conduct in an amount to be determined at trial, but in no event less than $1 million.
                           26              49.   Defendants’ acts are greatly and irreparably damaging to Plaintiffs and
                           27     will continue to damage Plaintiffs unless enjoined by the Court such that Plaintiffs
                           28     are without an adequate remedy at law.

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                              1                               THIRD CLAIM FOR RELIEF
                              2    (False Advertising in Violation of 15 U.S.C. § 1125(a) Against All Defendants)
                              3            50.   Plaintiffs reallege and incorporate herein by reference the allegations of
                              4   the preceding paragraphs as if fully set forth herein.
                              5            51.   Defendants’ Infringing Advertisement is a commercial advertisement,
                              6   placed in interstate commerce, describing the nature, characteristics, qualities and/or
                              7   geographic origin of Dr. Fisher’s and Defendants’ services.
                              8            52.   Defendants’ use of the Fisher Marks in their Infringing Advertisement,
                              9   which reads “Garth fisher MD FACS – Payments as low as $277/month” and which
                           10     links to, and is displayed directly beneath, a URL leading to the BHSA website, is a
                           11     false and/or misleading statement of fact about Dr. Fisher’s and Defendants’
                           12     services in that it falsely states prices for Dr. Fisher’s services and falsely and/or
                           13     misleadingly indicates an affiliation between Dr. Fisher and Defendants, or Dr.
                           14     Fisher’s approval, sponsorship, or endorsement of Defendants and their services.
                           15              53.   The false and/or misleading representations made by Defendants in the
                           16     Infringing Advertisement are material in that they are likely to influence consumers’
                           17     purchasing decisions.
                           18              54.   Defendants’ conduct constitutes false advertisement in violation of
                           19     15 U.S.C. § 1125(a).
                           20              55.   Plaintiffs have been, and will continue to be, damaged by Defendants’
                           21     false and/or misleading advertisement, in an amount to be determined at trial, but in
                           22     no event less than $1 million, because the Infringing Advertisement causes
                           23     reputational injury to Dr. Fisher and, on information and belief, has caused, and will
                           24     continue to cause, a diversion of potential customers, who have sought out Dr.
                           25     Fisher’s services, away from Dr. Fisher and to Defendants.
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                              1                              FOURTH CLAIM FOR RELIEF
                              2   (False Endorsement in Violation of 15 U.S.C. § 1125(a) Against All Defendants)
                              3            56.   Plaintiffs reallege and incorporate herein by reference the allegations of
                              4   the preceding paragraphs as if fully set forth herein.
                              5            57.   Plaintiffs are the owners of the statutory and common law rights
                              6   associated with the Fisher Marks, including the right to decide whether to associate
                              7   Dr. Fisher and the Fisher Marks with any third party for purposes relating to
                              8   sponsorship and/or endorsement.
                              9            58.   Defendants’ unauthorized use in commerce of the Fisher Marks as
                           10     keywords in their Google AdWords advertising and their unauthorized use of the
                           11     Fisher Marks in the Infringing Advertisement, such uses being made in connection
                           12     with Defendants’ services being offered through the BHSA websites, are likely to
                           13     cause confusion, mistake, or deception as to Plaintiffs’ sponsorship and/or
                           14     endorsement of Defendants’ and/or the services being offered by Defendants.
                           15              59.   Defendants’ efforts to trade off of the goodwill developed by Plaintiffs
                           16     in the Fisher Marks and by falsely and/or misleadingly representing that Dr. Fisher
                           17     is affiliated with or has sponsored or endorsed Defendants and/or their services
                           18     constitute false endorsement in violation of 15 U.S.C. § 1125(a).
                           19              60.   Upon information and belief, Defendants’ conduct is willful, deliberate,
                           20     intentional, and done in bad faith, as Defendants have used the Fisher Marks,
                           21     without authorization, in advertising their services so as to deceive consumers as to
                           22     Dr. Fisher’s affiliation with or endorsement of Defendants’ services, making this an
                           23     exceptional case pursuant to 15 U.S.C. § 1117.
                           24              61.   The consumer deception caused by Defendants’ conduct is material and
                           25     is likely to influence consumers’ purchasing decisions.
                           26              62.   Plaintiffs have been, and will continue to be, damaged by Defendants’
                           27     conduct in an amount to be determined at trial, but in no event less than $1 million.
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                              1            63.   Defendants’ acts are greatly and irreparably damaging to Plaintiffs and
                              2   will continue to damage Plaintiffs unless enjoined by the Court such that Plaintiffs
                              3   are without an adequate remedy at law.
                              4                               FIFTH CLAIM FOR RELIEF
                              5    (Violation of Statutory Right of Publicity, Cal. Civ. Code § 3344.1 Against All
                              6                                         Defendants)
                              7            64.   Plaintiffs reallege and incorporate herein by reference the allegations of
                              8   the preceding paragraphs as if fully set forth herein.
                              9            65.   By way of their conduct described herein, Defendants have knowingly
                           10     used Dr. Fisher’s name in their Infringing Advertisement, without Plaintiffs prior
                           11     consent, for purposes of advertising or selling, or soliciting purchases of, the plastic
                           12     surgery services offered by Defendants. Such conduct is in violation of the
                           13     intellectual property rights Dr. Fisher has in his name and likeness pursuant to Cal.
                           14     Civ. Code § 3344.1.
                           15              66.   As a direct and proximate result of Defendants’ actions, Defendants
                           16     have wrongfully profited and Plaintiffs have suffered damages in an amount to be
                           17     determined at trial, but in no event less than $1 million.
                           18              67.   Defendants’ acts are greatly and irreparably damaging to Plaintiffs and
                           19     will continue to damage Plaintiffs unless enjoined by the Court such that Plaintiffs
                           20     are without an adequate remedy at law.
                           21                                    PRAYER FOR RELIEF
                           22              WHEREFORE, Plaintiffs respectfully request that this Court:
                           23              1.    Enter judgment that Defendants have violated the Lanham Act,
                           24     15 U.S.C. §§ 1114 and 1125, and that such violations were willful and intentional,
                           25     making this an exceptional case pursuant to 15 U.S.C. § 1117;
                           26              2.    Issue a preliminary and permanent injunction enjoining and restraining
                           27     Defendants, their agents, servants, employees, successors, assigns, and all other
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                              1   persons acting in concert or in participation with Defendants, jointly and severally,
                              2   from:
                              3                  a.    directly or indirectly engaging in any further infringement of
                              4   Plaintiffs’ trademark rights, including their rights in the Fisher Marks;
                              5                  b.    directly or indirectly engaging in any further unfair business
                              6   practices, including false designation of origin, false endorsement, and false
                              7   advertising in connection with the Fisher Marks or Dr. Fisher; and
                              8                  c.    further purchasing the Fisher Marks, or any other intellectual
                              9   property owned by Plaintiffs, as keyword advertising search terms.
                           10              3.    Require Defendants to immediately recall, retract, and remove any
                           11     advertising or promotional materials bearing or infringing on the Fisher Marks or
                           12     any other intellectual property owned by Plaintiffs;
                           13              4.    Order Defendants to account to Plaintiffs for all profits wrongfully
                           14     derived by their unlawful conduct and to pay to Plaintiffs:
                           15                    a.    All monetary actual and/or statutory damages sustained and to be
                           16     sustained by Plaintiffs as a consequence of Defendants’ unlawful conduct, including
                           17     lost profits and corrective advertising damages, in an amount to be determined at
                           18     trial, but in no event less than $1 million;
                           19                    b.    All profits, gains, and advantages obtained by Defendants from
                           20     their unlawful conduct;
                           21                    c.    Exemplary damages, including treble damages, resulting from
                           22     Defendants’ unlawful conduct, pursuant to 15 U.S.C. § 1117;
                           23                    d.    Pre-judgment interest on all damages; and
                           24                    e.    Plaintiffs’ costs and disbursements in this action, including its
                           25     reasonable attorneys’ fees, pursuant to 15 U.S.C. § 1117.
                           26              5.    Direct that each of the Defendants file with this Court and serve on
                           27     counsel for Plaintiffs within thirty days after entry of any injunction issued by the
                           28

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                              1   Court, a sworn written statement pursuant to 15 U.S.C. § 1116 setting forth in detail
                              2   the manner and form in which they have complied with the injunction; and
                              3            6.    Order any such other or further relief as the Court may deem just and
                              4   proper.
                              5                                DEMAND FOR JURY TRIAL
                              6            Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs respectfully demand a trial by jury
                              7   of all issues so triable by a jury.
                              8
                              9
                                  Dated: July 16, 2021                      LOEB & LOEB LLP
                           10                                               DAVID GROSSMAN
                                                                            JULIANA FINLEY
                           11
                           12                                               By:
                                                                                  David Grossman
                           13                                                     Juliana Finley
                                                                                  Attorneys for Plaintiffs
                           14                                                     Garth Fisher, M.D. and Garth Fisher Skin
                                                                                  Care, LLC
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